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                                7                             UNITED STATE DISTRICT COURT

                                8                             FOR THE DISTRICT OF ARIZONA
                                9
                                    Martin Gillard; Darren Gurner,                     Case No. 2:17-cv-01368-DLR
                           10
                                                         Plaintiffs,
                           11                                                          PLAINTIFFS’ RESPONSE TO
                                            v.                                         DEFENDANTS’ MOTION FOR
                           12
                                                                                       PARTIAL SUMMARY JUDGMENT
                              Good Earth Power AZ, LLC, an Arizona
                           13 limited liability company; ZR FEC Ltd., a                RE: ARIZONA WAGE ACT [DOC.
                                                                                       69]
                           14 BVI company; Jason Rosamond and Maya
                              Minkova, husband and wife; Alawi Zawawi;
                           15 Good Earth Power Ltd., a British Virgin                  (Oral Argument Requested)
                              Islands company; FEC Logging USA
                           16 Holdings, LLC, a Delaware limited liability
                              company
                           17
                                                         Defendants.
                           18
                           19               Plaintiffs Martin Gillard and Darren Gurner (collectively, “Plaintiffs”) hereby file
                           20       their Response to Defendants’ Motion for Partial Summary Judgment Re: Arizona Wage
                           21       Act [Doc. 69]. This Response is supported by the following Memorandum of Points and
                           22       Authorities, the concurrently-filed Controverting Statement of Facts (“CSOF”), the
                           23       exhibits thereto, and all matters of record.
                           24                        MEMORANDUM OF POINTS AND AUTHORITIES
                           25               On summary judgment, the evidence must be viewed in the light most favorable to
                           26       the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986).
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                                1   I.       INTRODUCTION
                                2            Defendants request summary dismissal of Plaintiffs’ second claim for non-payment
                                3   of timely wages under A.R.S. 23-350, et seq. (Arizona Wage (Payment) Act). It is
                                4   undisputed that Plaintiffs were not paid the wages they were promised and which were
                                5   due to them on a timely basis and the Court should allow this claim to proceed.
                                6            Plaintiffs were individuals providing services in exchange for compensation to
                                7   individual defendants Minkova and Rosamond, and to corporate defendants GEPAZ and
                                8   ZR FEC. Plaintiffs are employees under applicable state law, choice of law provisions
                                9   support proceeding under Arizona law, and Plaintiffs are timely in their demand for
                           10       payment of wages promised them but unpaid in a timely fashion.
                           11                For these reasons, Plaintiffs must be allowed to present their claims to a jury.
                           12       II.      FACTUAL BACKGROUND
                           13                GEPAZ LLC holds a 10-year public forest management contract with the US

                           14       Forest Service (Four-Forest Restoration Initiative or “4-FRI Contract”), authorizing the

                           15       company to access and thin federal forests, including logging, milling, transportation,

                           16       soils, biomass and other components relating to an area covering most of northern Arizona

                           17       to the New Mexico border. It took over that contract in 2013. GEPAZ, at the time, was

                           18       controlled by the individual named Defendants, who served as its directors and/or agent,

                           19       and owned at least in part by Rosamond and Zawawi. ZR FEC Ltd. held a controlling

                           20       stake in GEPAZ. CSOF ¶¶ 1, 4-9. Minkova and Rosamond maintained top executive

                           21       status for all three entities, and not only controlled the corporate defendants but at least

                           22       eight other entities handling various parts of the 4-FRI Contract fulfillment. CSOF ¶¶ 50-

                           23       9.

                           24                Plaintiff Gillard:

                           25                Gillard signed an employment agreement in February 2013 to be CTO of GEP

                           26       Ltd., when it was pursuing business opportunities in Africa. Rosamond and Minkova
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                                1   asked Gillard, a British national based in England, to provide assistance on preliminary
                                2   work for the 4-FRI Contract in early 2014. CSOF ¶9. Within a few months, Gillard was
                                3   working full time on the 4-FRI Contract, and was seconded to the new US-based entity
                                4   responsible for the 4-FRI Contract. Gillard understood that his salary would be paid via
                                5   revenues generated from Arizona and the new entity would step in the shoes of GEP.
                                6   Gillard did not enter into a consultancy agreement with ZR FEC or GEPAZ. CSOF ¶10.
                                7           Although promised a salary of no less than $17,500/month, Gillard did not receive
                                8   timely or complete payments. Gillard had to adjust to receiving only sporadic payments,
                                9   but he never agreed to a reduction in his salary. From 2014 to the end of 2016, Gillard
                           10       received payments from various bank accounts in always varying amount. CSOF ¶ 11-12.
                           11               Gillard had different roles in conjunction with Arizona operations, including COO.
                           12       Gillard’s wages were not paid via regular payroll checks, subject to withholdings. Gillard
                           13       began work in Arizona with the understanding he had been seconded to work on the
                           14       operations required for fulfillment of the 4-FRI Contract but was never given a formal
                           15       secondment agreement to indicate which entity assumed the obligation to pay him. While
                           16       seconded, Minkova, Rosamond and Zawawi controlled all Arizona operations and decided
                           17       from one pay period to the next how much Gillard would be paid. CSOF ¶¶14-15.
                           18               Plaintiff Gurner:
                           19               Rosamond asked Gurner to provide consultancy services to GEP Ltd. around
                           20       October 2013. CSOF ¶22-23. From November 2013 to January 2014, Gurner provided
                           21       consultancy services to GEP Ltd. at a rate of £10,000 per month. At the end of January
                           22       2014, Rosamond and Gurner agreed on terms of an employment relationship, according to
                           23       which Gurner would become Managing Director of the soon-to-be-created Arizona entity
                           24       (GEPAZ/ZR FEC). CSOF ¶23-24. Gurner’s salary was set at £12,500/month plus
                           25       incentives, but he was never paid these amounts in full and was sometimes paid nothing.
                           26       CSOF ¶ 24. As a result, he performed projects for an unrelated banking entity to palliate
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                                1   for unpaid wages. Gurner held the title of Managing Director throughout. CSOF ¶ 25.
                                2           Gurner issued Marlin Wood invoices of £10,000 a month to GEP for three (3)
                                3   months, before being appointed Managing Director. He expected to be paid his salary by
                                4   his new employer upon his appointment, per his agreement with Rosamond. Because he
                                5   was informed that neither GEPAZ nor ZR FEC would create a payroll account, he
                                6   continued to issue invoices under Marlin Wood for his wages. However, Gurner’s tax
                                7   advisor informed him he would be liable in the UK for taxes on invoiced amounts, even if
                                8   not paid. CSOF ¶ 40. Issuing invoices that were not getting paid meant he was paying for
                                9   the privilege of working for GEPAZ, so Gurner stopped issuing invoices in 2015. Yet,
                           10       GEPAZ continued to pay him, albeit sporadically, from its business accounts. GEPAZ
                           11       generally paid Marlin Wood for Gurner’s salary, but paid Gurner directly for expense
                           12       reimbursements. CSOF ¶¶ 40-1.
                           13               By the end of their tenure, Plaintiffs were each owed in excess of half a million US
                           14       Dollars in back wages, not including other compensations. CSOF ¶¶ 21, 32; see CSOF ¶
                           15       42 (Rosamond acknowledged owing Plaintiffs back wages in March 2016). Rosamond
                           16       informed Gillard he would be terminated in November 2016. In conjunction with that
                           17       announcement, Rosamond recognized that Gillard was owed extensive back wages and
                           18       arranged for payments to him of $3,750 every two weeks, starting in December 2016,
                           19       from either the Seymour Forest Product or Lumberjack business accounts, two entities
                           20       under the ZR FEC/GEPAZ umbrella and engaged in the fulfillment of the 4-FRI Contract.
                           21       The payments became infrequent after January 2017, and only one payment was made in
                           22       each of the months of March and April, after which they stopped completely. CSOF ¶ 21.
                           23       III.    ANALYSIS
                           24               Although Defendants conveniently claim that GEPAZ was not an employer for
                           25       purposes of this motion, it claims in other parts of their moving papers that Plaintiffs were
                           26       executive employees exempt from overtime requirements. For the following reasons,
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                                1   Defendants’ motion must be denied: (A) the Wage Payment Act applies regardless of
                                2   conflict of laws rules; (B) GEPAZ, ZR FEC and individual defendants were employers
                                3   under Arizona law as under federal law; (C) Gurner was not an independent contractor for
                                4   the same reasons highlighted under the FLSA; and (D) the one-year statute of limitations
                                5   under Arizona law is not a look-back window but a traditional statute of limitations and
                                6   Plaintiffs are entitled to seek relief for all improper wage payments.
                                7           A.      Choice of Law Provisions Do Not Preclude Enforcement Of The Act
                                8           Relying upon Swanson v. The Image Bank, Inc., Defendants argue that the laws of
                                9   England and Wales apply to Gillard’s agreement, and that it is, therefore, improper to
                           10       apply the Arizona Wage Act to his claim for unpaid/untimely paid wages. 77 P.3d 439
                           11       (Ariz. 2003).     The situation presented in Swanson is different than the one at bar.
                           12       Swanson involved a claim of treble damages for a disputed one-time severance provision.
                           13       In contrast, this case involves a repeated failure to abide by a central tenet of the statute,
                           14       an employer’s obligation to pay recurring wages timely and accurately.
                           15               First, Gillard was seconded to an Arizona entity that assumed responsibility for
                           16       paying his wages. From the time of that secondment in 2014, the entirety of Gillard’s
                           17       work focused on the fulfillment of the 4-FRI Contract, which deals with federal forest
                           18       lands in this state. All of the monies he received were paid to him in US currency, from a
                           19       local bank account in the name of GEPAZ or one of the entities providing support for the
                           20       4-FRI Contract. Once seconded, the choice of law provision lost its nexus to the selected
                           21       jurisdiction. See Restatement (2nd) Conflict of Laws §187 (noting absence of geographic
                           22       nexus as reason to disregard contractual choice of law provision even if clause at issue is
                           23       properly within ambit of provision). Upon secondment in 2014, Arizona became the sole
                           24       jurisdiction with any nexus to a dispute as to the payment of wages.
                           25               Second, the public policy at issue here is a much more significant factor than the
                           26       one discussed in Swanson, which involved penalty on a one-time severance claim issue.
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                                1   The primary issue here is the continued failure by Defendants to pay wages on a timely
                                2   basis. Defendants, while operating in this state, consistently failed to pay Plaintiffs’
                                3   wages on their due date and in the amount agreed.1 Sometimes, they made no payment at
                                4   all. The core of the Wage (Payment) Act is to protect workers and enable them to have
                                5   recourse in this state when promised wages are not delivered. The statute specifically
                                6   spells out with what frequency wages are to be paid, namely two or more paydays each
                                7   month, no more than 16 days apart unless the employee is an exempt employee (which
                                8   Defendants claim Plaintiffs were) who can be paid monthly, even if that employer is
                                9   based outside the state. A.R.S. §23-351(A) and (B). Defendants flaunted that obligation
                           10       vis-à-vis Plaintiffs (and many others).
                           11                Allowing the choice of law provision here would be contrary to a “fundamental
                           12       policy” of the state of Arizona (i.e., that an employee should have the benefit of knowing
                           13       with certainty when and how much he/she will be paid), which has a “materially greater
                           14       interest” in its enforcement than Britain. Restatement (2nd) Conflict of Laws §187(2)(b).
                           15       This is a significantly more fundamental issue than treble damages on a one time
                           16       severance payment between two contractually equal parties, and nothing in the statute
                           17       suggests that employers have the right to withdraw themselves from the obligation of
                           18       timely and accurate payment of wages via contractual provisions. If employers could
                           19       simply elect to stop making periodic payment of wages to Arizona employees, the
                           20       protection of the statute (and the statute itself) would be meaningless. An employment
                           21       contract cannot be construed so as to nullify a statute designed to protect employees.
                           22                B.     Broad Definition of Employment
                           23                A.R.S. § 23-350 provides purposefully broad, all-encompassing definitions of what
                           24       constitutes an employment relationship. An employer can be an entity or an individual
                           25       doing business in Arizona through workers in this state or doing work impacting this state.
                           26       1
                                        The DOL case file shows they also failed to do so as to a number of other employees.
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                                1   An employee is an individual that performs services requiring performance in whole or in
                                2   part in Arizona.2 Not only are GEPAZ and ZR FEC employers as previously described in
                                3   moving papers relating to the FLSA, it is clear that they serve a single enterprise directed
                                4   almost exclusively by Minkova and Rosamond, as the two top executives and personal
                                5   beneficiaries of the work performed by Plaintiffs and others.
                                6           Defendants self-servingly claim that only GEP, an entity that has proved beyond
                                7   the reach of the jurisdiction, was Plaintiffs’ employer. Yet, GEP did not provide
                                8   compensation, however inadequate, to Plaintiffs.       Instead, it was GEPAZ and other
                                9   entities controlled by GEPAZ and ZR FEC and acting in fulfillment of GEPAZ’s
                           10       obligations under the 4-FRI Contract that provided payments to Plaintiffs, including
                           11       Seymour Forest Products, Lumberjack Mill, GEP Trucking. Through the byzantine layers
                           12       of corporate misdirections, it is clear that Defendants Minkova and Rosamond, as husband
                           13       and wife and business partners, essentially ran the Arizona operations as they saw fit,
                           14       taking liberties to ensure payments from multiple sources to Plaintiffs and in the least
                           15       amount possible to keep them providing services without quitting, on the promise of a
                           16       future accounting, which never materialized.        Further, the key asset in all of the
                           17       relationships at issue is the fact that GEPAZ is the sole party in direct contractual privity
                           18       with the federal government and that the existence of all of the umbrella entities and the
                           19       work Plaintiffs were made to perform stems from the need to fulfill that federal contract
                           20       on behalf of GEPAZ, an entity under day-to-day control by Minkova and Rosamond at all
                           21       times relevant hereto. See CSOF ¶¶ 41-51.
                           22

                           23       2
                                Gurner was unequivocally paid via GEPAZ’s business account and was also personally
                           24 reimbursed  for expenses through it. Gurner accepted a position as Managing Director for
                              Arizona operations related to the 4-FRI Contract and the exchange of communications as
                           25 to the terms of that position make no mention of a choice of law provision. As for Gillard,
                              the performance of his employment obligations unequivocally required performance
                           26 “wholly or partly within this state” for the 4-FRI Contract. A.R.S. § 23-350.
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                                1           C.        Gurner Was An Employee
                                2           Plaintiffs agree that the Wage (Payment) Act is a statute designed by the state
                                3   legislature to protect employees from improper practices by their employers. As a result,
                                4   a true independent contractor would not be covered by the statute.3 Arizona has endorsed
                                5   the same test as the one used under federal law, namely the Economic Reality Test, for
                                6   various statutes, including the Minimum Wage Act. Where applying Arizona common
                                7   law, courts have used the similar Right-To-Control test, which includes seven (7) factors:
                                8                   1. The duration of the employment;
                                9                   2. The method of payment;
                                                    3. Who furnishes necessary equipment;
                           10                       4. The right to hire and fire;
                           11                       5. Who is responsible for workmen’s compensation insurance;
                                                    6. The extent to which the employer may exercise control over the
                           12                       details of the work; and
                                                    7. Whether the work was performed in the usual and regular course
                           13                       of the employer’s business.
                           14               See Reed v. Indus. Comm’n., 534 P.2d 1090, 1092 (App. 1075).
                           15               In contrast, federal courts in the Ninth Circuit employ a six-factor Economic
                           16       Reality test4 to determine whether an individual is an employee or an independent
                           17       contractor. There is, however, little to “no functional difference” between or among the
                           18       Economic Reality test or the Right-To-Control test, among others. See Murray v.
                           19       Principal Fin. Grp., Inc., 613 F.3d 943, 945 (9th Cir. 2010).
                           20               Plaintiffs hereby reference the analysis provided in their Response to Defendants
                           21
                                    3
                           22        It stands to reason that if Gurner is not an employee under the Wage (Payment) Act, his
                                    claims are not bound by the one-year employment contact limitations. A.R.S. §12-541(3).
                           23       4
                                Real v. Driscoll Strawberry Assocs., 603 F.2d 748 (9th Cir. 1979) (six factors include:
                           24 (1) extent of control by employer; (2) individual’s opportunity for profit and loss; (3)
                              employee’s economic investment as compared to employer’s; (4) skill set involved; (5)
                           25 permanence of relationship; and (6) how integral the work is to the business of the
                              employer). Other Appellate Courts have devised variations on the same test, with varying
                           26 numbers  of factors to consider.
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                                1   Partial Motion for Summary Judgment relating to FLSA Claims. Factors 1, 6 and 7 of the
                                2   Right-To-Control test have nearly identical corollaries in the Economic Reality test and,
                                3   as discussed in the FLSA Motion, strongly favor a finding of employment for Gurner
                                4   (nearly three years of service, reported to top executives in corporate structure, served as
                                5   Managing Director and was an integral part of Arizona operations). Addressing the other
                                6   factors in turn, none of them support independent contractor status.
                                7           Gurner was promised a salary and although it was not regularly paid, in sum or
                                8   frequency, the amounts were paid by GEPAZ and his expenses were reimbursed, as would
                                9   any other employee. Other entities controlled by Minkova and Rosamond used proper
                           10       payroll practices for payment of wages, so until mid-2015 Gurner submitted invoices. He
                           11       stopped and for well over a year thereafter, he continued to receive sporadic payments
                           12       directly from GEPAZ’s Wells Fargo bank account. Consequently the second factor is at
                           13       best neutral or favoring an employment relationship. CSOF ¶¶40-41; 70.
                           14               The third factor strongly supports employment as Gurner provided no tools and
                           15       made no economic investment in the relationship with GEPAZ/ZR FEC. In contrast, the
                           16       4-FRI Contract is a massive 10-year project that required millions of dollars in investment
                           17       and development costs, none shouldered by Plaintiffs. CSOF ¶¶ 1, 4 & 5.
                           18               The fourth factor is at best neutral but more likely supportive of an employment
                           19       relationship. It is uncontroverted that Rosamond consulted Gurner on certain employment
                           20       actions, but the decision ultimately to hire or fire, and under what terms, rested with the
                           21       CEO at all times relevant hereto. CSOF ¶¶ 50-51; 62-63.
                           22               The fifth factor strongly supports employment status.      Gurner never signed a
                           23       waiver of worker’s compensation coverage or acknowledgment of responsibility to
                           24       provide his own coverage nor did GEPAZ/ZR FEC ever ask him to execute a declaration
                           25       of independent status under A.R.S. §23-1601. Further, as a contractor of the federal
                           26       government, GEPAZ was responsible for ensuring compliance with all applicable safety
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                                1   laws, rules and regulations to all individuals working in fulfillment of the federal contract.
                                2   GEPAZ was responsible for ensuring workers’ compensation coverage for Gurner and all
                                3   other service providers and this factor supports Gurner’s employment status.
                                4           In the aggregate, the factors are neutral to favoring the finding of an employment
                                5   relationship. Consistent with the broad definitions of employment under the statute and
                                6   recent modifications to Arizona law,5 the Court should find, as under the Economic
                                7   Reality test, that Gurner is an employee under the Wage Act.
                                8           D.      The Statute Of Limitations Under The Wage Act Allows Recovery Of
                                                    All Unpaid Wages
                                9
                                            Without any supporting citation,6 Defendants contend that the statute of limitations
                           10
                                    precludes recovery of unpaid wages outside of a one-year look back window from the date
                           11
                                    of filing of the lawsuit (plus private tolling agreement). That assertion is incorrect. Only
                           12
                                    the statutes of limitations of the FLSA operate as look back windows. Arizona statutes of
                           13
                                    limitations, including under the Minimum Wage Act, require that an action be brought
                           14
                                    within one year of its accrual, but does not cap the period of time covered by the claim.
                           15
                                    Nothing in the Wage (Payment) Act or A.R.S. §12-541 suggests that the limitations at
                           16
                                    issue functions in any other way than a traditional statute of limitations.
                           17
                                            Defendants were let go in late 2016 (Gurner in October; Gillard in November). It
                           18
                                    is at that time, when their employment ends and they are not made whole for outstanding
                           19
                                    wages in a timely manner (within the next pay period), that their claim for untimely
                           20
                                    payment of wages accrues. Fallar v. Compuware Corp., 202 F. Supp. 2d 1067 (D. Ariz.
                           21
                                    2002) (holding that the one-year period for bringing an employment claim under Arizona
                           22
                                    5
                           23     See A.R.S. §23-362(D) (providing for rebuttable presumption of existence of
                              employment relationship, subject to opponent of classification providing clear and
                           24 convincing evidence to the contrary).
                              6
                           25    Defendants cite Redhair v. Kinerk, Beal, Schimdt, Dyer & Sethi, P.C., 183 P.2d 544
                              (App. 2008). Although that case indeed holds that a one-year statute of limitations apply
                           26 to an employment contract, per A.R.S. §12-541(3), the claim arose in December 2004 and
                              the plaintiff did not file until August 2006 (¶¶ 3-4) and is therefore inapposite.
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                                1   law only begins to run upon employee termination); See Apache East, Inc. v. Wiegand,
                                2   580 P.2d 769 (App. 1978) (upholding award of treble damages for unpaid commissions
                                3   stretching over two years). Thus, by filing in May 2017, Defendants are well within the
                                4   one-year statute of limitations applicable to employment agreements under Arizona law.
                                5   IV.     CONCLUSION
                                6
                                            For these reasons, the Court should deny Defendants’ Partial Motion for Summary
                                7
                                    Judgment on Plaintiffs’ Claims under the Arizona Wage Act.
                                8
                                            DATED this 31st day of July, 2018.
                                9
                                                                              BUCHALTER,
                           10
                                                                              A PROFESSIONAL CORPORATION
                           11

                           12                                                 By:        /s/ Laurent R.G. Badoux
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                           16
                                    I hereby certify that I electronically transmitted
                           17 the attached document to the Clerk’s Office
                              using the CM/ECF System for filing and
                           18
                              transmittal of a Notice of Electronic Filing to the
                           19 following CM/ECF registrants, and mailed a
                              copy of same to the following if non-registrants,
                           20 this 31st day of July, 2018, to:

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